     Case 3:21-cv-00132-TCB-RGV Document 1 Filed 08/09/21 Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              NEWNAN DIVISION

YVONNE BROWN,                          )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
BROWN & SONS, LLC,                     )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, YVONNE BROWN, by and through the undersigned

counsel, and files this, her Complaint against Defendant BROWN & SONS, LLC

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


                                           1
      Case 3:21-cv-00132-TCB-RGV Document 1 Filed 08/09/21 Page 2 of 12




of Georgia, Newnan Division, as the parcel of real property at issue in this case is

situated within Carroll County, Georgia, and Defendant maintains its registered

agent in Carroll County Georgia.

                                     PARTIES

       3.     Plaintiff YVONNE BROWN (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Douglasville,

Georgia (Douglas County).

       4.     Plaintiff suffers from Epilepsy, Multiple Sclerosis (“MS”) and has

suffered multiple injuries resulting in irreversible damage to her legs, and is

disabled as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

       6.     Plaintiff uses a wheelchair for mobility purposes.

       7.     Defendant BROWN & SONS, LLC (hereinafter “Defendant”) is a

Georgia limited liability company, and transacts business in the state of Georgia

and within this judicial district.

       8.     Defendant may be properly served with process via its registered

agent for service, to wit: Dennis Brown, 760 West Bankhead Highway, Villa Rica,


                                          2
     Case 3:21-cv-00132-TCB-RGV Document 1 Filed 08/09/21 Page 3 of 12




Georgia 30180.

                           FACTUAL ALLEGATIONS

      9.     On or about July 3, 2021, Plaintiff was a customer at “Villa Rica

Pawn Shop,” a business located at 760 W Bankhead Highway, Villa Rica, Georgia

30180.

      10.    Defendant is the owner (or co-owner) of the real property and

improvements that are the subject of this action. (The contiguous structures and

improvements situated upon said real property shall be referenced herein as the

“Facility,” and said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately thirteen (13) miles from the Facility and

Property.

      12.    Plaintiff’s access to the businesses located at 760 W. Bankhead

Highway, Villa Rica, Georgia 30180 (Carroll County Property Appraiser’s parcel

number V07 0110011), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of her disabilities, and she will be

denied and/or limited in the future unless and until Defendant is compelled to

remove the physical barriers to access and correct the ADA violations that exist at

the Facility and Property, including those set forth in this Complaint.


                                          3
      Case 3:21-cv-00132-TCB-RGV Document 1 Filed 08/09/21 Page 4 of 12




      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to her access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

                                           4
     Case 3:21-cv-00132-TCB-RGV Document 1 Filed 08/09/21 Page 5 of 12




      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of her

disabilities resulting from the physical barriers to access, dangerous conditions and


                                         5
     Case 3:21-cv-00132-TCB-RGV Document 1 Filed 08/09/21 Page 6 of 12




ADA violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the near

future as a customer and as an advocate for the disabled in order to utilize all of the

goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facility and Property, but will be unable to fully do so

because of her disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facility and Property that preclude and/or

limit her access to the Facility and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).


                                          6
     Case 3:21-cv-00132-TCB-RGV Document 1 Filed 08/09/21 Page 7 of 12




      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      30.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      a.     The signage for the accessible parking space on the Property is

             not installed at a permissible height, and is bent backwards, in

             violation of section 502.6 of the 2010 ADAAG standards.

      b.     The access aisle adjacent to the accessible parking space on the

             Property is not level due to the presence of a ramp within the

             boundaries of said access aisle, in violation of section 502.4 of

             the 2010 ADAAG standards.

      c.     The above-described ramp protrudes into the boundaries of the

             adjacent accessible parking spaces, in violation of section 502.4


                                           7
Case 3:21-cv-00132-TCB-RGV Document 1 Filed 08/09/21 Page 8 of 12




      of the 2010 ADAAG standards.

d.    The above-described ramp on the Property has a slope

      exceeding 1:12 (one to twelve), in violation of section 405.2 of

      the 2010 ADAAG standards, and its side flares have slopes in

      excess of 1:10 (one to ten), in violation of section 406.3 of the

      2010 ADAAG standards.

e.    Due to the presence of concrete poles within the accessible

      route that provides access to the entrances of the Facility, there

      are publicly accessible areas of the Property having accessible

      routes with clear widths below the minimum 36” (thirty-six

      inches) inches required by section 403.5.1 of the 2010 ADAAG

      standards.

f.    The interior of the “Villa Rica Pawn Shop” portion of the

      Facility has walking surfaces lacking 36” (thirty-six inches) of

      clear width throughout, in violation of section 403.5.1 of the

      2010 ADAAG standards.

g.    Upon information and good faith belief, Defendant fails to

      adhere to a policy, practice and procedure to ensure that all

      facilities on the Property are readily accessible to and usable by


                                   8
      Case 3:21-cv-00132-TCB-RGV Document 1 Filed 08/09/21 Page 9 of 12




                disabled individuals.

      31.       Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff utilize an accessible parking space on the

Property, more difficult and dangerous for Plaintiff to traverse the ramp servicing

the property, more difficult for Plaintiff to enter and exit the Facility, and more

difficult for Plaintiff to conduct her business on the accessible routes while inside

the Facility.

      32.       The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      33.       Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.       The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.       All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.


                                           9
     Case 3:21-cv-00132-TCB-RGV Document 1 Filed 08/09/21 Page 10 of 12




      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees


                                          10
    Case 3:21-cv-00132-TCB-RGV Document 1 Filed 08/09/21 Page 11 of 12




and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: August 9, 2021.

                                      Respectfully submitted,

                                      /s/Craig J. Ehrlich
                                      Craig J. Ehrlich

                                        11
     Case 3:21-cv-00132-TCB-RGV Document 1 Filed 08/09/21 Page 12 of 12




                                    Georgia Bar No. 242240
                                    The Law Office of Craig J. Ehrlich, LLC
                                    1123 Zonolite Road, N.E., Suite 7-B
                                    Atlanta, Georgia 30306
                                    Tel: (800) 238-3857
                                    Fax: (855) 415-2480
                                    craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




                                      12
